










Opinion issued May 27, 2010











In The
Court of Appeals
For The
First District of Texas




NO. 01–09–00582–CV




PECAN CLUB, INC., Appellant

V.

PACIFIC INSURANCE COMPANY, LIMITED, Appellee




On Appeal from the 240th District Court
Fort Bend County, Texas
Trial Court Cause No. 04DCV135466




MEMORANDUM OPINIONAppellant Pecan Club, Inc. has neither established indigence, nor paid or made
arrangements to pay the clerk’s fee for preparing the clerk’s record.  See Tex. R. App.
P. 20.1 (listing requirements for establishing indigence), 37.3(b) (allowing dismissal
of appeal if no clerk’s record filed due to appellant’s fault).  After being notified that
this appeal was subject to dismissal, appellant Pecan Club, Inc. did not adequately
respond.  See Tex. R. App. P. 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for want of prosecution for failure to pay or make
arrangements to pay the clerk’s fee.  All pending motions are denied.
PER CURIAM
Panel consists of Justices  Keyes, Sharp, and Massengale.


